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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION


 IN RE:                                                 :       CHAPTER 7
                                                        :
 GWENDOLYN LORITA MARTIN,                               :       CASE NO. 15-56724-BEM
 aka GWENDOLYN ECHOLS MARTIN,                           :
                                                        :
          Debtor.                                       :

      NOTICE OF DEPOSIT OF UNCLAIMED FUNDS INTO REGISTRY OF COURT

          S. Gregory Hays, the Trustee of the named estate, hereby shows the following:

          1.     In accordance with 11 U.S.C. Section 347(a), payment has been stopped on all

 checks of the estate which remain unpaid, as identified in Paragraph 2 below. The total sum of these

 checks is $22.57, which has been deposited with the Court for disposition pursuant to 28 U.S.C.

 Sections 2041 et. seq.

          2.     Pursuant to Federal Rules of Bankruptcy Procedure 3011, the last known name and

 address of each entity whose final dividend check has not been presented for payment and the

 amount that such entity is entitled to be paid from the property of the estate which has been paid into

 the Court is as follows:

 Name and Last Known Address                                            Amount

 Internal Revenue Service                                               $22.57
 PO Box 7346
 Philadelphia, PA 19101-7346


                                                           /s
                                                        S. Gregory Hays
 Hays Financial Consulting, LLC                         Chapter 7 Trustee
 2964 Peachtree Rd, NW, Suite 555
 Atlanta, Georgia 30305
 (404) 926-0060
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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above Notice of Deposit of Unclaimed

 Funds into Registry of Court was sent correctly addressed with proper postage by First Class U.S.

 Mail to the following:

    Office of the U.S. Trustee
    362 Richard B. Russell Building
    75 Ted Turner Drive, S.W.
    Atlanta, Georgia 30303

    Internal Revenue Service
    PO Box 7346
    Philadelphia, PA 19101-7346

            This 6th day of May, 2021.


                                                             /s
                                                          S. Gregory Hays
                                                          Chapter 7 Trustee
